                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,

                  v.                                       Case No. 25-cv-10676-BEM

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
AND PRELIMINARY INJUNCTION ON BEHALF OF CLASS MEMBERS N.M. AND
     T.T.P. AND ALL OTHER SIMILARLY SITUATED CLASS MEMBERS


       Plaintiffs respectfully request that the Court grant this Motion for a Temporary

Restraining Order and Preliminary Injunction. The grounds for this motion are set forth in the

accompanying memorandum of law, exhibits in support thereof, this Court’s orders, Dkts. 64

86, and 91, and the applicable law. A proposed order also accompanies this motion.

       This motion is being filed on an urgent basis because Plaintiffs’ counsel has received

evidence demonstrating that class member N.M., an individual with a final removal order to

Myanmar, and T.T.P, an individual with a final order of removal to Vietnam, are being deported

to South Sudan, potentially with other similarly situated class members. Plaintiffs’ counsel has

informed Defendants’ counsel of the name and A number of class members N.M. and T.T.P.




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                             REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), Plaintiffs believe that the Court can rule on the motion

for a temporary restraining order without further hearing but will be available in the event that

the Court schedules a hearing.

Respectfully submitted,

 s/ Trina Realmuto
 Trina Realmuto*                                Matt Adams*
 Kristin Macleod-Ball*                          Leila Kang*
 Mary Kenney*                                   Aaron Korthuis*
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 * Application for admission pro hac vice forthcoming

Dated: May 20, 2025




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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), I emailed Defendants’ counsel

Mary Larakers, Matthew Seamon, and Elianis Perez at 12:04 pm ET on May 20, 2025 to inform

counsel that class member N.M. was being deported to South Sudan without having had a

reasonable fear interview and requested that Defendants take all steps to endure that N.M. and

all other class members are not deported from the United States and, if the flight already

disembarked, that it be immediately returned to the United States. My email further informed

Defendants’ counsel that Plaintiffs would file a TRO absent an immediate response.

       At 12:09 pm ET, Defendants’ counsel promptly responded that Defendant Department

of Homeland Security (DHS) would be immediately informed.

       At 2:07 pm ET, I sent another email to Defendants’ counsel to inform them that a

second class member, T.T.P. was being deported to South Sudan and indicated that we would

file the instant motion as soon as was practicable.

       At 2:10 pm ET, Defendants’ counsel promptly responded that they would communicate

to DHS.

       These communications were an attempt to resolve the issues raised in this motion, but

the parties were unable to reach a resolution.


s/ Trina Realmuto
Trina Realmuto




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